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uNiTED sTATEs oF AMERicA, i,€,`zlg§aé§r'j’§ §§ng

P|aintiff,

VS.
CR. NO. 02-20498-B

DlSCOUNT SATELL|TE & EQU|PMENT SALES, et al., (FUG)

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FYlNG PERIOD OF EXCLUDABLE DEL/-\Y
AND SETT|NG

 

This cause came on for a report date on |Vlay 31 , 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a w
up report date of Thursdav, June 23. 2005. at 2:30 p.m., in Courtroom 1, 11th F|oor
of the Federa| Bui|ding, |Vlernphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18

U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy tria|.

lT lS SO ORDERED this ne, 2005.

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with Flule 55 and/or32ih; i rtc or ézEY -Ga,-]Z

@D STATES DlSTR|C JUDGE

UNITE s…TESISIC COURT - WESRNTE D's'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:02-CR-20498 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

